                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


AMERICAN ASSOCIATION OF UNIVERSITY
PROFESSORS, ET AL.,

                          Plaintiffs,                         Case No. 1:25-cv-10685 (WGY)

         v.

MARCO RUBIO, ET AL.,

                          Defendants.


   PLAINTIFFS’ MOTION TO COMPEL COMPLETE ANSWERS TO PLAINTIFFS’
    INTERROGATORIES, PRODUCTION OF DOCUMENTS, AND DISCLOSURE
        OF INFORMATION IMPROPERLY WITHHELD AS PRIVILEGED

       With only two weeks left before trial, Defendants have produced a total of 25 documents

to Plaintiffs, some heavily redacted; they have omitted many documents from their productions

that should have been included; they have provided grossly inadequate answers to Plaintiffs’

interrogatories more than ten days past the deadline provided in the Federal Rules; and they have

improperly withheld highly relevant documents and answers to interrogatories and have instructed

their witnesses not to answer crucial questions at depositions based on overbroad and improper

assertions of privilege. In short, Defendants are blocking discovery at every turn, despite this

Court’s expectation that Defendants produce “every contemporaneous document that exists up and

down the chain of command” bearing on retribution. May 6, 2025 Tr. 17:19–18:2.

       Accordingly, pursuant to Rules 30, 33, 34, and 37 of the Federal Rules of Civil Procedure

and Rules 33.1, 34.1, and 37.1 of the Local Rules, Plaintiffs move to compel (1) the production of

documents that Plaintiffs have identified as missing from Defendants’ productions, (2) complete

answers to Plaintiffs’ interrogatories, with all objections deemed waived due to Defendants’


                                                1
untimely and deficient responses, which have caused substantial prejudice to Plaintiffs, (3) the

production of documents improperly withheld as privileged, and (4) the reappearance of John

Armstrong, a State Department official who was previously deposed, for a continued deposition

on questions that he was instructed not to answer based on improper assertions of privilege. The

Court’s guidance is urgently needed in advance of additional depositions of government witnesses

this week and the week before trial.

I.     Defendants should be compelled to produce highly relevant documents that are
       missing from their productions.

       From the outset of this case, the Court has made clear that it expects Plaintiffs to “focus

[discovery] on retribution,” and that it expects “the government to be absolutely fulsome in its

disclosure of contemporaneous documents.” May 6, 2025 Tr. 18:23–19:2. Plaintiffs heeded this

guidance and served narrow discovery requests on May 13, 2025. See Declaration of Scott Wilkens

(“Wilkens Decl.”), attached hereto as Exhibit A, Exs. 1 & 2. The Court deemed these requests “in

order” after limiting the number of targeted noncitizens from nine to five. May 22, 2025 Tr. at

7:15–8:8; see also id. (describing the Court’s review of Plaintiffs’ discovery requests and

determining that they were “not inappropriate”).

       Contrary to the Court’s guidance, however, Defendants have not made genuine efforts to

provide fulsome discovery. They assert that they have “operated with deliberate speed” in

responding to Plaintiffs’ document requests, which “has required a review across Federal agencies

of thousands of records to find responsive materials, then filtering those materials through multiple

levels of agency review to redact for multiple privileges.” ECF No. 136, at 2. Plaintiffs do not

doubt the diligent efforts of Defendants’ counsel. Yet to date, Defendants have produced a meager

25 documents, many of which are heavily redacted based on assertions of the law enforcement

privilege. Wilkens Decl. ¶¶ 4, 6, 9. Defendants have submitted only 15 additional documents to


                                                 2
the Court for in camera review based on assertions of the deliberative process privilege,

presidential communications privilege, and law enforcement privilege. Id. ¶ 5; ECF No. 131.1

       Defendants produced documents on May 29, 2025 as part of the certified administrative

record (CAR). Wilkens Decl. ¶ 4. Defendants produced additional documents on June 13 in

response to Plaintiffs’ document requests. Id. ¶ 6. Two days later, Plaintiffs wrote to Defendants

and identified numerous documents missing from Defendants’ productions, some of which are

referenced in the documents Defendants already produced (and should have been turned over with

those documents) and some of which Plaintiffs only learned of during the depositions of Andre

Watson, a Department of Homeland Security official, and Mr. Armstrong on June 11 and 12,

respectively. Id. ¶ 7 & Ex. 3. Plaintiffs requested that Defendants produce the missing documents

by June 17, but Defendants failed to do so. Id. Ex. 3. After Plaintiffs followed up on this request,

Defendants’ counsel stated on June 18 that they were “still running down most of the documents

on [Plaintiffs’] list,” but did not give an indication of how long it would take them. Id. Ex. 4, at 1.

Plaintiffs are forced to move to compel the production of the missing documents given the

upcoming depositions, the shortness of time until trial, and Defendants’ prior discovery delays.

       The Court should order Defendants to produce the missing documents identified in Exhibit

B, which is the same as the list Plaintiffs sent to Defendants on June 16, except that several

documents have been removed from the list.2 The documents identified in Exhibit B are responsive




   1
     Notably, Defendants have not produced a single email to Plaintiffs, and it does not appear that
any of the documents submitted to the Court for in camera review are emails. That alone raises
serious concerns about the adequacy of Defendants’ document productions.
   2
    Defendants informed Plaintiffs that two documents on the June 16 list were among those
submitted to the Court for in camera review, and that one document on the list was produced to
Plaintiffs on June 13, 2025. Wilkens Decl. Ex. 4, at 1. Accordingly, those documents are not listed
as missing in Exhibit B.


                                                  3
Exhibit B. Each of these categories of documents is directly relevant the ideological-deportation

policy’s existence and implementation, the government’s retributive motive, and its intent to chill

the speech of other noncitizen students and faculty.

       Exhibit B also identifies numerous missing documents that are responsive to RFP 5, which

seeks communications, memoranda, and other documents concerning the government’s social

media surveillance of noncitizens for “pro-Palestinian, anti-Semitic, anti-Zionist, pro-terrorist,

pro-Hamas, pro-Jihadist, or anti-Israel speech.” Exhibit B; Wilkens Decl. Ex. 1, at 8–9. Defendants

object that these terms are “vague and ambiguous,” Wilkens Decl. Ex. 2, at 20, but Defendants use

those terms in documents they have produced, and the objection only underscores the First

Amendment violations at issue. 4 The missing documents Plaintiffs have specifically identified

include State Department cables, nonpublic Foreign Affairs Manual and Foreign Affairs

Handbook provisions, and State Department policy materials, guidance, or instructions related to

this social media surveilance. See Exhibit B.

       Finally, Exhibit B identifies a category of documents that Plaintiffs expressly asked for in

RFP 6(b): communications from the State Department to specific colleges and universities

“directing them to report international students for participating in ‘proscribed antisemitic actions,’

‘terrorist activity,’ or ‘endorsing or espousing terrorism,’” as reported in news media. Exhibit B;

Wilkens Decl. Ex. 1, at 9. These communications are highly relevant because they, too, would

provide evidence of the ideological deportation policy and the government’s intent.




   4
    Defendants object to the request on the grounds that it “does not identify the persons/parties
who allegedly directed” the surveillance, Wilkens Decl. Ex. 2, at 20, but that is Defendants’
obligation, not Plaintiffs’, and underscores Defendants’ failure to identify relevant individuals in
response to Plaintiffs’ interrogatories in a timely manner. See infra Part II.


                                                  5
II.     Defendants Should Be Compelled to Provide Complete Answers to Plaintiffs’
        Interrogatories, With All Objections Deemed Waived.

        Plaintiffs served Defendants with their First Set of Interrogatories on May 13, 2025, and,

as noted above, the Court deemed them “in order.” See supra Part I. Given the short discovery

period and Plaintiffs’ need to identify relevant government officials in order to notice depositions,

Plaintiffs repeatedly urged Defendants to respond in advance of the 30-day deadline set forth in

Fed. R. Civ. P. 30(b)(2). Wilkens Decl. ¶ 11. Rather than provide that information on an expedited

basis, however, Defendants did not answer Plaintiffs’ interrogatories until June 22, 2025, 40 days

after the interrogatories were served, and did not ask Plaintiffs or the Court for an extention. Id. ¶

12 & Ex. 10. And even then, Defendants provided deficient responses.

        With respect to Interrogatories 1–3, which seek the identification of relevant government

officials, Defendants failed to identify any State Department officials, not even Secretary Rubio,

and also failed to identify numerous DHS officials Plaintiffs asked Andre Watson to identify in

his deposition, but whose names he could not recall. Id ¶ 14. Defendants refused to answer

Interrogatories 4–5, which ask them to identify persons involved in communications between

Defendants and specified colleges and universities concerning non-citizen students or faculty who

engaged in pro-Palestinian or anti-Semitic speech, and persons involved in identifying non-citizen

students or faculty members at the same colleges and universities who were targeted for visa

revocation or other adverse actions based on their pro-Palestinian or anti-Semitic speech. Wilkens

Decl. ¶ 15 & Ex. 10 at 10–12. And Defendants provided very limited information in response to

Interrogatories 6–10 and 12–14 based on assertions of the deliberative process and law

enforcement privileges. Wilkens Decl. ¶ 15 & Ex. 10 at 12–23.

        Defendants’ failure to provide any information in response to Plaintiffs’ interrogatories

until two weeks before trial has prejudiced Plaintiffs’ ability to prepare their case. Plaintiffs noticed


                                                   6
the depositions of Mr. Watson and Mr. Armstrong—the only relevant officials Plaintiffs knew

about because they filed declarations in support of Defendants earlier in the case—and had to

spend substantial portions of those depositions attempting to obtain the information sought by the

interrogatories. And because the witnesses were relying on memory, they were unable to identify

many officials about whom Plaintiffs asked.5 Defendants’ interrogatory responses do not rectify

the situation, because they do not identify a single State Department official with relevant

knowledge—not even Secretary Rubio—and fail to identify many Department of Homeland

Security officials with relevant knowledge. They do not even include some of the individuls that

Defendants’ own declarants testified at their depositions have relevant knowledge. It is difficult to

view these omissions as anything other than bad faith.

       The Court should accordingly order Defendants to answer the interrogatories in full,

deeming as waived Defendants’ objections. Their failure to timely object to Plaintiffs’

interrogatories is itself grounds to deem the objections waived. See, e.g., Fed. R. Civ. P. 33(b)(4);

L. R. 33.1(c)(1); Katz v. Liberty Power Corp., Case No. 1:18-cv-10506, 2021 WL 3616073, at *1

(D. Mass. Mar. 29, 2021) (finding that objections to interrogatories based on attorney-client

privilege and work product privilege were waived because “the objections were provided more

than 30 days after service”). And although “a court can decline to deem late objections waived

when ‘[the discovery] request far exceeds the bounds of fair discovery,’” Katz, 2021 WL 3616073,

at *1 (quoting Krewson v. City of Quincy, 120 F.R.D. 6, 7 (D. Mass. 1988)), that is decidedly not

the case here, as the Court noted at the May 22 and June 2, 2025 hearings. May 22, 2025 Tr. 7:15–



   5
     Defendants tout the fact that they made these “two high-level witnesses who plaintiffs
noticed” available for depositions, ECF No. 136, at 2, but, as noted, Plaintiffs knew about the
officials’ relevance to this case only because they submitted declarations in support of Defendants’
opposition to Plaintiffs’ motion for a preliminary injunction. See ECF Nos. 65-1 & 65-2.


                                                 7
       Even if Defendants can show that the information described above qualifies for the asserted

privilege, all three privileges at issue—the deliberative process privilege, the presidential

communications privilege, and the law enforcement privilege—are qualified rather than absolute

and thus are subject to the Court’s balancing of interests to determine whether material should be

disclosed. See Texaco Puerto Rico, Inc. v. Dep’t of Consumer Affs., 60 F.3d 867, 884–85 (1st Cir.

1995) (deliberative process privilege); Gulluni v. Levy, 85 F.4th 76, 85 (1st Cir. 2023) (law

enforcement privilege); Protect Democracy Project, Inc. v. NSA, 10 F.4th 879, 885–86 (D.C. Cir.

2021) (presidential communications privilege). The balancing of interests clearly favors disclosure

given the constitutional violations at issue, the central relevance of the withheld information, and

the unavailability of the information from other sources.

       Deliberative process privilege. The deliberative process privilege does not apply to the

documents, deposition testimony, and interrogatory responses at issue for two reasons. First, the

privilege does not apply where, as here, the government’s decision-making process is the very

subject matter of the suit. Second, even if it did apply, it is a qualified privilege, and the balance

of interests here tips in favor of production.

       The deliberative process privilege shields from disclosure information “‘reflecting

advisory opinions, recommendations and deliberations comprising part of a process by which

governmental decisions and policies are formulated.’” Dep’t of Interior v. Klamath Water Users

Protective Ass’n, 532 U.S. 1, 8 (2001) (quoting N.L.R.B. v. Sears, Roebuck & Co., 421 U.S. 132,

50 (1975)). As this Court has explained, the privilege is “grounded on the proposition ‘that the

quality of administrative decision-making would be seriously undermined if agencies were forced

to operate in a fishbowl.’” Gen. Elec. Co. v. E.P.A., 18 F. Supp. 2d 138, 140 (D. Mass. 1998)

(quoting Wolfe v. Dep’t of Health & Hum. Servs., 839 F.2d 768, 773 (D.C. Cir. 1988) (en banc)).



                                                 11
The deliberative process privilege thus “distinguishes between predecisional, deliberative

[material], which [is] exempt from disclosure, and [material] reflecting a final agency decision and

the reasons supporting it, which [is] not.” U.S. Fish & Wildlife Serv. v. Sierra Club, Inc., 592 U.S.

261, 268 (2021). The privilege does not shield “post-decisional documents explaining or justifying

a decision already made,” Texaco, 60 F.3d at 884–85, or “material that is purely factual, unless the

material is so inextricably intertwined with the deliberative sections of documents that its

disclosure would inevitably reveal the government’s deliberations.” In re Sealed Case, 121 F.3d

729, 737 (D.C. Cir. 1997).

          Defendants bear the burden of showing that the withheld material is predecisional and

deliberative. As an initial matter, it seems doubtful that the four documents being withheld in full—

State Department “Action Memos” regarding the removal or deportability of five individuals—do

not contain relevant, purely factual information that is segregable. See ECF No. 131, Exhibits L–

O; Wilkens Decl. ¶ 5. For example, these documents presumably contain summaries of factual

information regarding these individuals’ participation in campus protests and engagement in pro-

Palestinian, anti-Semitic, or pro-Hamas speech, if any. Such factual information is not protected

by the deliberative process privilege and should be disclosed. The same is true with respect to

Defendants’ refusal to include in their answers to interrogatories any of the information contained

in these Action Memos. Wilkens Decl. Ex.10 at 13, 15, 17, 18 (responses to Interrogatories 6, 7,

9, 10).

          Even if Defendants meet their burden of showing that the withheld material is predecisional

and deliberative, the deliberative process privilege does not bar the material’s disclosure. First, the

deliberative process privilege does not apply where, as here, the agencies’ decision-making

process is the very subject matter of the suit. See, e.g., In re Subpoena Duces Tecum Served on



                                                  12
Off. of Comptroller of Currency, 145 F.3d 1422, 1424 (D.C. Cir. 1998); Williams v. City of Boston,

213 F.R.D. 99, 102 (D. Mass. 2003); Velazquez v. City of Chicopee, 226 F.R.D. 31, 34 (D. Mass.

2004). As the D.C. Circuit explained:

        The privilege was fashioned in cases where the governmental decisionmaking
        process is collateral to the plaintiff’s suit. If the plaintiff’s cause of action is directed
        at the government’s intent, however, it makes no sense to permit the government to
        use the privilege as a shield. For instance, it seems rather obvious to us that the
        privilege has no place in a Title VII action or in a constitutional claim for
        discrimination. . . . [I]f either the Constitution or a statute makes the nature of
        governmental officials’ deliberations the issue, the privilege is a nonsequitur.

In re Subpoena Duces Tecum, 145 F.3d at 1424 (internal citations omitted) (emphasis in

original).9

        Particularly noteworthy here is Montrevil v. Decker, a case in which a habeas petitioner

sued ICE officials for allegedly arresting and deporting him in retaliation for his First Amendment

protected activities—speaking at protests against U.S. immigration policy. No. 20-264, 2021 WL

11690690, at *1–2 (E.D.N.Y. July 19, 2021). The court held that “[t]o the extent petitioner seeks

information that speaks to the government’s reasons for and actions taken in connection with his

removal from the United States, respondents may not shield this information from disclosure by

the deliberative process privilege.” Id. at *5. The government’s “decision-making process about

petitioner’s case and his removal,” the court reasoned, “are central to petitioner’s claims.” Id.; see

also id. (“respondents’ motivation to remove petitioner . . . is the crux of petitioner’s claim”). As

a result, the court ordered the government to produce unredacted versions of emails between ICE

officials regarding petitioner’s removal. Id.



   9
    See also Dorce v. City of New York, No. 19-cv-2216, 2023 WL 7545345, at *4 (S.D.N.Y.
Nov. 14, 2023) (collecting cases); Est. of LeRoux v. Montgomery Cnty., Md., No. 8:22-cv-00856,
2024 WL 1703939, at *4 (D. Md. Apr. 19, 2024) (collecting cases); Gudkovich v. City of Chicago,
No. 17-cv-8714, 2022 WL 252716, at *9 (N.D. Ill. Jan. 27, 2022) (collecting cases).


                                                     13
       Similarly here, Defendants’ intent and decision-making process in revoking the visas and

green cards of non-citizen students and faculty members, and in arresting, detaining, and deporting

them, are clearly relevant to Plaintiffs’ claims. See Nieves v. Bartlett, 587 U.S. 391, 398–99 (2019)

(discussing centrality of “retaliatory motive” to establishing First Amendment retaliation); NRA v.

Vullo, 602 U.S. 175, 180 (2024) (“[A] government entity’s ‘threat of invoking legal sanctions and

other means of coercion’ against a party ‘to achieve the suppression’ of disfavored speech violates

the First Amendment.” (quoting Bantam Books, Inc. v. Sullivan, 372 U.S. 58, 67 (1963)); see also

ECF No. 73 at 59 n.9 (noting that “some showing of intent on the part of government officials”

may be relevant to Plaintiffs’ challenge to Defendants’ policy or practice of ideological deportation

(quoting McGuire v. Reilly, 386 F.3d 45, 63 (1st Cir. 2004)). Indeed, this Court observed as much

at the May 6 case management conference, noting that “government retribution for speech” is what

this case “turns on.” May 6 Tr. 9:13–16, 17:19–20. Moreover, Defendants have put these issues

squarely in play: in a sworn declaration submitted to this Court, John Armstrong made clear the

importance of the agencies’ deliberations. He stated that “[n]o ideological deportation policy has

been developed or implemented by the Bureau of Consular Affairs or the Visa Office.” ECF No.

65-1 at 3–4 (emphasis added). Yet during his deposition, Defendants’ counsel instructed Mr.

Armstrong not to answer any questions about the development of such a policy based on the

deliberative process privilege.

       Second, even if the privilege is not categorially inapplicable in this case and instead

requires a balancing of interests, that makes no difference to the outcome, because “[w]here the

deliberative or decisionmaking process is the ‘central issue’ in the case, the need for the

deliberative documents will outweigh the possibility that disclosure will inhibit future candid

debate among agency decision-makers.” In re Delphi Corp., 276 F.R.D. 81, 85 (S.D.N.Y. 2011)



                                                 14
(cleaned up); see also Burbar v. Inc. Vill. of Garden City, 303 F.R.D. 9, 14 (E.D.N.Y. 2013) (“Both

approaches tend to yield the same result.”); Montrevil, 2021 WL 11690690, at *5. The Court

should order the material to be disclosed based on a balancing of “the interests of the litigants,

society’s interest in the accuracy and integrity of factfinding, and the public’s interest in honest,

effective government.” Texaco, 60 F.3d at 885. Preventing the disclosure of agency deliberations

concerning the arrest, detention, and removal of noncitizen students and faculty members based

on their speech would not serve the purpose of the deliberative process privilege. To the contrary,

given the First Amendment rights at stake, disclosure would serve the “public’s interest in honest,

effective government.” Id. Indeed, it is difficult to imagine a case in which the balancing of

interests would weigh more decisively in favor of disclosure.

       Presidential communications privilege. Defendants’ assertions of the presidential

communications privilege are also unavailing. The privilege is “limited to communications ‘in

performance of (a President’s) responsibilities,’ ‘of his office,’ and made ‘in the process of shaping

policies and making decisions.’” Nixon v. Adm’r of Gen. Servs., 433 U.S. 425, 449 (1977) (quoting

United States v. Nixon, 418 U.S. 683, 711 (1974)). “At core, the presidential communications

privilege is rooted in the President’s need for confidentiality in the communications of his office,

in order to effectively and faithfully carry out his Article II duties and to protect the effectiveness

of the executive decision-making process.” Protect Democracy Project, Inc. v. NSA, 10 F.4th 879,

885 (D.C. Cir. 2021) (cleaned up). Thus, the privilege “extends beyond communications made

directly to the President to include communications solicited and received by the President’s

‘immediate White House advisers’ or even certain members of their staffs, but ‘should not extend

to staff outside the White House in executive branch agencies.” Judicial Watch, Inc. v. Dep’t of

Justice, 365 F.3d 1108, 1111 (D.C. Cir. 2004) (quoting In re Sealed Case, 121 F.3d at 744). The



                                                  15
presidential communications privilege should be construed as “narrowly as is consistent with

ensuring that the confidentiality of the President’s decisionmaking process is adequately

protected.” In re Sealed Case, 121 F.3d at 752.10

        Here, the presidential communications privilege does not apply for two reasons. First,

Defendants have not followed the proper procedure for invoking it, which requires that the

privilege “be claimed by the president or an official authorized to speak for the president.” Dellums

v. Powell, 561 F.2d 242, 248 (D.C. Cir. 1977); Dairyland Power Co-op v. United States, 79 Fed.

Cl. 659, 669 (2007) (requiring White House to submit an affidavit formally invoking the privilege).

Defendants have not done so here. Second, even if Defendants had properly invoked the privilege,

it would be overcome because Plaintiffs have a substantial need for the information at issue, which

is directly relevant to “the substantial violations of constitutional rights sought to be vindicated,”

and is not available elsewhere. Dellums, 561 F.2d at 249; see also Trump v. Thompson, 20 F.4th

10, 26 (D.C. Cir. 2021) (the privilege “may give way in the face of other strong constitutional

values” (cleaned up)). Testimony from Mr. Armstrong about

                                              is “directly relevant to issues that are expected to be

central to the trial.” In re Sealed Case, 121 F.3d at 754.

        Law enforcement privilege. Defendants’ assertions of the law enforcement privilege are

also ineffective, for two independent reasons. First, much of the information Defendants seek to

shield from disclosure does not fall within the scope of the privilege. Second, even as to

information covered by the privilege, the balance of interests favors disclosure—even more so




   10
     Unlike the deliberative process privilege, which covers “only pre-decisional and deliberative
material, the presidential privilege covers documents in their entirety, including post-decisional
and factual material within a record.” Protect Democracy, 10 F.4th at 885–6 (cleaned up).


                                                 16
given that, as many courts recognize, the potential harms of disclosure of law enforcement

sensitive information can be mitigated by a protective order.

       The purpose of the law enforcement privilege “is to prevent disclosure of law enforcement

techniques and procedures, to preserve the confidentiality of sources, to protect witness and law

enforcement personnel, to safeguard the privacy of individuals involved in an investigation, and

otherwise to prevent interference with an investigation.” Commonwealth of Puerto Rico v. United

States, 490 F.3d 50, 63 (1st Cir. 2007). “An investigation need not be ongoing for the law

enforcement privilege to apply as the ability of a law enforcement agency to conduct future

investigations may be seriously impaired if certain information is revealed.” Walsh v. Tara Constr.,

Inc., No. 19-10369-LTS, 2021 WL 12094216, at *2 (Apr. 18, 2021) (cleaned up). If the

government shows that the privilege applies by, for example, demonstrating that the information

at issue constitutes “law enforcement techniques and procedures,” the disclosure of which would

“jeopardize future criminal investigations,” then the court must “balance[e] the government’s

interest in preserving the confidentiality of sensitive law enforcement techniques against the

requesting party’s interest in disclosure. Commonwealth of Puerto Rico, 490 F.3d at 64. In

balancing these interests, the court “must consider the effect of a protective order restricting

disclosure to the plaintiff and the plaintiff’s attorney, or to the plaintiff’s attorney alone,” which

“can mitigate many if not all of the oft-alleged injuries to . . . law enforcement.” Floyd v. City of

N.Y., 739 F. Supp. 2d 376, 381 (S.D.N.Y. 2010).

       Defendants have asserted the law enforcement privilege to shield information about their

reasons for arresting, detaining, and deporting the Five Targeted Noncitizens—but that

information is not covered by the privilege. It would not, if disclosed, reveal law enforcement

techniques or procedures or impair the ability of the Department of Homeland Security to conduct



                                                 17
future investigations. As noted above, in Mr. Armstrong’s deposition, Defendants’ counsel

instructed him not to answer any questions about the basis for the State Department’s

determinations that the Five Targeted Noncitizens were deportable. The “ICE referral memos” and

“HSI Profiles” regarding the Five Targeted Noncitizens, which Defendants have withheld in full,

see ECF No. 131, Exs. B–K, also address the reasons why Defendants decided to arrest, detain,

and deport the Five Targeted Noncitizens.




                                 The reasons why Defendants decided to arrest, detain, and deport

the Five Targeted Noncitizens are not law enforcement sensitive—they would not reveal any law

enforcement techniques or compromise future investigations. They accordingly should be

released. Defendants also must answer the interrogatories that call for this information.

       Montrevil, the case discussed above involving a noncitizen’s First Amendment challenge

to his deportation, again is instructive. In that case, the court distinguished between materials that

“relate to law enforcement techniques and procedures, namely the logistics of a removal

operation,” which qualify for the law enforcement privilege, and materials that “relate to [ICE’s]

rationale for petitioner’s removal,” which do not. 2021 WL 11690690, at *8. The court also



                                                 18
concluded that “case summary information about petitioner’s criminal and immigration history”

did not qualify for the law enforcement privilege. Id. at *6–7. The same is true here.

       Even if the information being withheld is covered by the law enforcement privilege, the

balancing of interests strongly favors disclosure. As noted, information about Defendants’ reasons

for arresting, detaining, and deporting the Five Targeted Noncitizens is highly relevant to

Plaintiffs’ First Amendment claims. It is also unavailable from other sources. See, e.g., Lunn v.

Smith, No. 17-10938, 2019 WL 569828, at *5 (D. Mass. Feb. 12, 2019) (holding that the plaintiff’s

need for information relevant to his constitutional claims outweighed ICE’s interest in keeping

confidential information used in executing orders of removal). And any potential harm to law

enforcement interests can be mitigated by a protective order. See Floyd, 739 F. Supp. 2d at 381.

       A balancing of interests should also result in the disclosure of the information Defendants

have redacted from the State Department cables and webinar slides referenced above. One of these

cables was leaked to the public, and a review of the redacted material from the leaked version

shows that the State Department mandated the review of the social media accounts of student-visa

applicants who were present in the U.S. on a student visa from October 7, 2023 to August 31,

2024. Compare Wilkens Decl. Ex. 6, with id. Ex. 7. That the State Department specifically

identified this category of student visa applicants for social media vetting is relevant to Plaintiffs’

claims and should be released, as should any other relevant information.

                                          CONCLUSION

       For the foregoing resons, Plaintiffs respectually request that the Court order Defendants to

produce the identified documents it has failed to produce; to provide complete answers to

Plaintiffs’ interrogatories, with all objections deemed waived; and to produce in full the 19

documents identified above that are being withheld in whole or in part as privileged. Plaintiffs



                                                  19
further request that the Court order Defendants to make Mr. Armstrong available for a 4-hour

deposition to answer questions on the topics identified above, including the discussions and

deliberations of the interagency task force on the revocation of student visas. This Court should

also instruct Defendants’ counsel to refrain from similar invocations of privilege in upcoming

depositions of Defendants’ witnesses.



 June 23, 2025                             Respectfully submitted,

                                            /s/ Scott Wilkens
 Edwina Clarke (BBO 699702)                Scott Wilkens
 David Zimmer (BBO 692715)                 Ramya Krishnan
 Zimmer, Citron & Clarke, LLP              Carrie DeCell
 130 Bishop Allen Drive                    Xiangnong Wang
 Cambridge, MA 02139                       Talya Nevins
 (617) 676-9423                            Jackson Busch
 edwina@zimmercitronclarke.com             Alex Abdo
                                           Jameel Jaffer
 Noam Biale                                Knight First Amendment Institute
 Michael Tremonte                            at Columbia University
 Sher Tremonte LLP                         475 Riverside Drive, Suite 302
 90 Broad Street, 23rd Floor               New York, NY 10115
 New York, New York 10004                  (646) 745-8500
 (212) 202-2603                            scott.wilkens@knightcolumbia.org
 mtremonte@shertremonte.com
 nbiale@shertremonte.com                   Ahilan T. Arulanantham (SBN 237841)
                                           Professor from Practice
                                           UCLA School of Law
                                           385 Charles E. Young Dr. East
                                           Los Angeles, CA 90095
                                           (310) 825-1029
                                           arulanantham@law.ucla.edu

                                           Counsel for Plaintiffs




                                               20
                          MEET AND CONFER CERTIFICATION

       In accordance with Local Rule 7.1(a)(2), Plaintiffs’ counsel have met and conferred with

counsel for Defendants with regard to the areas of dispute raised in this motion, and

notwithstanding the various communications identified in the motion and accompanying

declaration, were unable to resolve or narrow the issues.


 June 23, 2025                               /s/ Scott Wilkens
                                            Scott Wilkens

                                            Counsel for Plaintiffs




                                                21
                              CERTIFICATE OF SERVICE

       I hereby certify that on June 23, 2025, I filed Plaintiffs’ Motion to Compel Complete

Answers to Plaintiffs’ Interrogatories, Production of Documents, and Disclosure of Information

Improperly Withheld as Privileged, and that service will be accomplished by the CM/ECF system.


 June 23, 2025                             /s/ Scott Wilkens
                                          Scott Wilkens

                                          Counsel for Plaintiffs




                                             22
